884 F.2d 1384
    Obenchain Corporationv.Corporacion Nacionale de Inversiones, a/k/a Conadi,Fundiciones Centro- Americanas S.A., Republic of Honduras,Ramos (Angel Eduardo), Castillo (Roberto Ramon), Coello(Augusto C.), Mendoza (Carlos A.), Marinakys (Juan C.),Garcia (Norman), Cordova (Hector), Barnes (Roberto Glavez),Calderon (Justo Pastor)
    NO. 89-3254
    United States Court of Appeals,Third Circuit.
    AUG 17, 1989
    
      1
      Appeal From:  W.D.Pa.,
    
    708 F.Supp. 695
    
      2
      APPEAL DISMISSED.
    
    